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1A
 101-7-TDR
 /2009
 /2010
 2ems Inc.
                                                UNITED STATES BANKRUPTCY COURT
                                                     DISTRICT OF MINNESOTA


              In Re:                                             §
                                                                 §
              GALETKA, ROBERT A.                                 §        Case No. 16-43799
              MCCOMBER-GALETKA, BETSY J.                         §
                                                                 §
                                  Debtors                        §

                              CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                              REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                              ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                      RANDALL L. SEAVER, TRUSTEE, chapter 7 trustee, submits this Final Account,
              Certification that the Estate has been Fully Administered and Application to be Discharged.

                      1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
              and, if applicable, any order of the Court modifying the Final Report. The case is fully
              administered and all assets and funds which have come under the trustee’s control in this case
              have been properly accounted for as provided by law. The trustee hereby requests to be
              discharged from further duties as a trustee.

                     2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
              discharged without payment, and expenses of administration is provided below:


              Assets Abandoned: 358,654.27                                Assets Exempt: 103,610.23
              (Without deducting any secured claims)

              Total Distributions to Claimants: 14,419.95                 Claims Discharged
                                                                          Without Payment: 38,787.28

              Total Expenses of Administration: 10,661.91


                      3) Total gross receipts of $ 29,328.00 (see Exhibit 1), minus funds paid to the debtor and
              third parties of $ 4,246.14 (see Exhibit 2), yielded net receipts of $ 25,081.86 from the
              liquidation of the property of the estate, which was distributed as follows:




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                                                  CLAIMS               CLAIMS             CLAIMS                 CLAIMS
                                                SCHEDULED             ASSERTED           ALLOWED                  PAID



SECURED CLAIMS
(from Exhibit 3)                                   $ 401,356.13               $ 0.00               $ 0.00                  $ 0.00

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                          NA             12,081.91           12,661.91                10,661.91

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                  NA                   NA                  NA                       NA

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                                   NA                   NA                  NA                       NA

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                               38,787.28            14,052.60           14,052.60                14,419.95

TOTAL DISBURSEMENTS                                $ 440,143.41          $ 26,134.51         $ 26,714.51           $ 25,081.86


                  4) This case was originally filed under chapter 7 on 12/29/2016 . The case was pending
          for 22 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 10/14/2018                        By:/s/RANDALL L. SEAVER, TRUSTEE
                                                                         Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                            EXHIBITS TO
                                                          FINAL ACCOUNT


             EXHIBIT 1 – GROSS RECEIPTS

                            DESCRIPTION                                    UNIFORM                                   $ AMOUNT
                                                                          TRAN. CODE1                                RECEIVED

SINGLE-FAMILY HOME,
LOT FIVE (5) AND THE WEST 24.                                                1110-000                                    23,500.00

2016 FEDERAL AND STATE INCOME TAX
REFUNDS                                                                      1124-000                                        5,828.00

TOTAL GROSS RECEIPTS                                                                                                    $ 29,328.00
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


             EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                    PAYEE                                       DESCRIPTION                         UNIFORM          $ AMOUNT
                                                                                                   TRAN. CODE           PAID

ROBERT GALETKA & BETSY
McCOMBER-GALETKA                                  Exemptions                                         8100-000                4,217.00

                                                  Non-Estate Funds Paid to Third
ROBERT GALETKA                                    Parties                                            8500-000                  29.14

TOTAL FUNDS PAID TO DEBTOR &                                                                                             $ 4,246.14
THIRD PARTIES


             EXHIBIT 3 – SECURED CLAIMS




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                                                UNIFORM        CLAIMS
                                                                                CLAIMS             CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.      SCHEDULED                                              CLAIMS PAID
                                                                               ASSERTED           ALLOWED
                                                 CODE      (from Form 6D)

            Plaza Home Mortgage
            8420 Eastgate Mall, Suite 100
            San Diego, CA 92121                                  258,425.00                NA               NA                0.00


            WELLS FARGO HOME
            MORTGAGE
            CORRESPOND RESOLUTN
            X2501-01T 1 HOME
            CAMPUS DES MOINES, IA
            50328                                                 93,413.70                NA               NA                0.00


            Wells Fargo Bank ,
            N.A.Debtor 2Betsy J.
            McComber-GaletkaFirst
            Name
            PO Box 10335 Des Moines,
            IA 50306                                              49,517.43                NA               NA                0.00

TOTAL SECURED CLAIMS                                           $ 401,356.13              $ 0.00          $ 0.00             $ 0.00


            EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                         UNIFORM
                                                            CLAIMS             CLAIMS              CLAIMS
              PAYEE                       TRAN.                                                                   CLAIMS PAID
                                                          SCHEDULED           ASSERTED            ALLOWED
                                          CODE

TRUSTEE
COMPENSATION:RANDALL L.
SEAVER, TRUSTEE                           2100-000                    NA           3,261.10           3,261.10            3,261.10


TRUSTEE EXPENSES:RANDALL
L. SEAVER, TRUSTEE                        2200-000                    NA            219.39             219.39              219.39




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                                          UNIFORM
                                                         CLAIMS            CLAIMS            CLAIMS
               PAYEE                       TRAN.                                                              CLAIMS PAID
                                                       SCHEDULED          ASSERTED          ALLOWED
                                           CODE

INTERNATIONAL SURETIES, LTD                2300-000                  NA              7.46             7.46                7.46


TRUSTEE INSURANCE AGENCY                   2410-000                  NA            38.80           38.80                38.80


FLATER PLUMBING & HEATING,
INC                                        2420-000                  NA           175.00          175.00               175.00


TRUSTEE INSURANCE AGENCY                   2420-000                  NA           362.26          362.26               362.26


CLOSING COSTS                              2500-000                  NA           795.50          795.50               795.50


ASSOCIATED BANK                            2600-000                  NA           190.75          190.75               190.75


REAL ESTATE TAXES                          2820-000                  NA         1,476.40         1,476.40             1,476.40


CITY OF LADYSMITH                          2990-000                  NA           111.25          111.25               111.25


ATTORNEY FOR TRUSTEE FEES
(TRUSTEE FIRM):FULLER,
SEAVER, SWANSON & KELSCH,                  3110-000                  NA           619.00          619.00               619.00


ATTORNEY FOR TRUSTEE
EXPENSES (TRUSTEE
FIRM):RICHARD SUMMERFIELD                  3110-000                  NA              0.00         580.00               580.00


ACCOUNTANT FOR TRUSTEE
FEES (OTHER FIRM):PAIEMENT
LAW OFFICE, LLC                            3410-000                  NA           825.00          825.00               825.00


REALTOR FOR TRUSTEE FEES
(REAL ESTATE
COMMISSIONS):COLDWELL
BANKER NORTHERN                            3510-000                  NA         2,400.00         2,400.00             1,200.00




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                                         UNIFORM
                                                             CLAIMS              CLAIMS             CLAIMS
              PAYEE                       TRAN.                                                                     CLAIMS PAID
                                                           SCHEDULED            ASSERTED           ALLOWED
                                          CODE

REALTOR FOR TRUSTEE FEES
(REAL ESTATE
COMMISSIONS):RIVERBEND
REALTY GROUP                              3510-000                       NA              800.00          800.00                0.00


REALTOR FOR TRUSTEE FEES
(REAL ESTATE
COMMISSIONS):RIVERBEND
REALTY GROUP LLC                          3510-000                       NA              800.00          800.00             800.00

TOTAL CHAPTER 7 ADMIN. FEES                                            $ NA        $ 12,081.91       $ 12,661.91        $ 10,661.91
AND CHARGES



            EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                         UNIFORM
                                                             CLAIMS              CLAIMS             CLAIMS
              PAYEE                       TRAN.                                                                     CLAIMS PAID
                                                           SCHEDULED            ASSERTED           ALLOWED
                                          CODE

NA: NA                                          NA                       NA                 NA               NA                NA

TOTAL PRIOR CHAPTER ADMIN.                                             $ NA               $ NA             $ NA               $ NA
FEES AND CHARGES



            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                                CLAIMS             CLAIMS
                                                UNIFORM
                                                              SCHEDULED           ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                               CLAIMS PAID
                                                               (from Form       (from Proofs of    ALLOWED
                                                 CODE
                                                                   6E)              Claim)

NA          NA                                       NA                    NA                 NA              NA               NA

TOTAL PRIORITY UNSECURED                                                 $ NA               $ NA             $ NA             $ NA
CLAIMS




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            EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                            CLAIMS               CLAIMS
                                                UNIFORM
                                                          SCHEDULED             ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                          CLAIMS PAID
                                                           (from Form         (from Proofs of    ALLOWED
                                                 CODE
                                                               6F)                Claim)

            CHASE CARD SERVICES
            PO BOX 15298 Wilmington,
            DE 19850-5298                                          9,907.41                 NA             NA            0.00


            CITI CARDS
            BOX 6500 Sioux Falls, SD
            57117                                                  6,835.00                 NA             NA            0.00


            CITI CARDS
            BOX 6500 Sioux Falls, SD
            57117                                                  7,732.99                 NA             NA            0.00


            CITI CARDS
            BOX 6500 Sioux Falls, SD
            57117                                                  7,666.71                 NA             NA            0.00


            GREENSKY
            PO BOX 29429 Atlanta, GA
            30359                                                  3,820.27                 NA             NA            0.00


            SYNCHRONY BANK/JCP
            ATTN: BANKRUPTCY
            DEPT PO BOX 965060
            Orlando, FL 32896                                       536.00                  NA             NA            0.00




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                                                             CLAIMS              CLAIMS
                                                UNIFORM
                                                           SCHEDULED            ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                            CLAIMS PAID
                                                            (from Form        (from Proofs of     ALLOWED
                                                 CODE
                                                                6F)               Claim)

            US BANK
            CARDMEMBER SERVICE
            PO BOX 6339 Fargo, ND
            58125                                                   396.90                  NA              NA              0.00


            US BANK
            CB DISPUTES PO BOX 108
            Saint Louis, MO 63166                                  1,892.00                 NA              NA              0.00


000001      GREENSKY, LLC.                      7100-000               NA              1,952.97        1,952.97        1,952.97


000004      SYNCHRONY BANK                      7100-000               NA                536.58         536.58           536.58


            U.S. BANK NATIONAL
000003      ASSOCIATION                         7100-000               NA              1,848.73        1,848.73        1,848.73


000002      VERIZON                             7100-000               NA                 83.54           83.54           83.54


000005      CHASE BANK USA, NA                  7200-000               NA              9,630.78        9,630.78        9,630.78


            CHASE BANK USA, NA                  7990-000               NA                   NA              NA           251.76


            GREENSKY, LLC.                      7990-000               NA                   NA              NA            51.05


            SYNCHRONY BANK                      7990-000               NA                   NA              NA            14.03


            U.S. BANK NATIONAL
            ASSOCIATION                         7990-000               NA                   NA              NA            48.33


            VERIZON                             7990-000               NA                   NA              NA              2.18

TOTAL GENERAL UNSECURED                                        $ 38,787.28         $ 14,052.60      $ 14,052.60      $ 14,419.95
CLAIMS




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                                                   INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                    ASSET CASES                                                                                  Exhibit 8
Case No:             16-43799              Judge: Unknown                                            Trustee Name: RANDALL L. SEAVER, TRUSTEE
Case Name:           GALETKA, ROBERT A.                                                              Date Filed (f) or Converted (c):    12/29/16 (f)
                     MCCOMBER-GALETKA, BETSY J.                                                      341(a) Meeting Date:                02/02/17
 For Period Ending: 10/14/18
                                                                                                     Claims Bar Date:                    06/23/17


                                  1                                    2                         3                 4               5                         6
                                                                                        Estimated Net Value
                                                                                         (Value Determined      Property                                Asset Fully
                                                                    Petition/             by Trustee, Less      Formally       Sale/Funds           Administered (FA)/
                          Asset Description                        Unscheduled           Liens, Exemptions,    Abandoned       Received by       Gross Value of Remaining
               (Scheduled and Unscheduled (u) Property)              Values               and Other Costs)     OA=554(a)        the Estate                Assets

 1. SINGLE-FAMILY HOME,                                                289,900.00                       0.00                             0.00               FA
 LOT 8, BLOCK 1, SPRING VALLEY
    Debtor Claimed Exemption
 2. LOTS FOUR AND FIVE, BLOCK TWENTY-ONE,                               99,000.00                       0.00                             0.00               FA
 MENASHA WOOD
 3. SINGLE-FAMILY HOME,                                                 35,942.12                 19,312.00                        23,500.00                FA
 LOT FIVE (5) AND THE WEST 24.
 4. 2003 BUICK LESABRE LTD (FAIR CONDITION)                                1,905.00                     0.00                             0.00               FA
 MILEAGE: 1
    Debtor Claimed Exemption
 5. 2005 TOYOTA CORROLLA CE (FAIR CONDITION)                               2,441.00                     0.00                             0.00               FA
 MILEAGE:
    Debtor Claimed Exemption
 6. FURNITURE, APPLIANCES, COOKWARE AND                                    2,000.00                     0.00                             0.00               FA
 DISHES, MISC.
    Debtor Claimed Exemption
 7. 10-YEAR OLD TV $100, SON'S COMPUTER $300,                               785.00                      0.00                             0.00               FA
 PRINTER
    Debtor Claimed Exemption
 8. VARIOUS ITEMS OF MUSICAL INSTRUMENTS AND                               1,090.00                     0.00                             0.00               FA
 EQUIPMENT
    Debtor Claimed Exemption
 9. ORDINARY CLOTHING                                                       100.00                      0.00                             0.00               FA
    Debtor Claimed Exemption
 10. ORDINARY CLOTHING                                                      100.00                      0.00                             0.00               FA
    Debtor Claimed Exemption
 11. GOLD WEDDING BAND                                                      200.00                      0.00                             0.00               FA
    Debtor Claimed Exemption
 12. ANNIVERSARY RING WITH SMALL DIAMOND                                    600.00                      0.00                             0.00               FA
    Debtor Claimed Exemption
 13. DAMAGED GOLD TANZENITE RING                                            400.00                      0.00                             0.00               FA
    Debtor Claimed Exemption
 14. MISC. COSTUME JEWELRY                                                   50.00                      0.00                             0.00               FA
    Debtor Claimed Exemption
 15. CAT AND DOG                                                                 1.00                   0.00                             0.00               FA
    Debtor Claimed Exemption
 16. CASH                                                                   117.00                      0.00                             0.00               FA
    Debtor Claimed Exemption
 17. TCF BANK                                                               576.47                      0.00                             0.00               FA
    Debtor Claimed Exemption
 18. TCF BANK                                                                    3.04                   0.00                             0.00               FA
    Debtor Claimed Exemption
 19. WELLS FARGO BANK                                                        34.96                      0.00                             0.00               FA
    Debtor Claimed Exemption




PFORM1                                                                                                                                                            Ver: 20.02
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                                                   INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                    ASSET CASES                                                                                     Exhibit 8
Case No:             16-43799              Judge: Unknown                                            Trustee Name: RANDALL L. SEAVER, TRUSTEE
Case Name:           GALETKA, ROBERT A.                                                              Date Filed (f) or Converted (c):      12/29/16 (f)
                     MCCOMBER-GALETKA, BETSY J.                                                      341(a) Meeting Date:                  02/02/17
                                                                                                     Claims Bar Date:                      06/23/17


                                  1                                   2                         3                  4               5                            6
                                                                                       Estimated Net Value
                                                                                        (Value Determined       Property                                   Asset Fully
                                                                   Petition/             by Trustee, Less       Formally       Sale/Funds              Administered (FA)/
                          Asset Description                       Unscheduled           Liens, Exemptions,     Abandoned       Received by          Gross Value of Remaining
               (Scheduled and Unscheduled (u) Property)             Values               and Other Costs)      OA=554(a)        the Estate                   Assets

 20. WELLS FARGO BANK                                                         0.00                      0.00                                0.00               FA
 21. OPTUM BANK                                                           2,760.00                      0.00                                0.00               FA
    Debtor Claimed Exemption
 22. CENTER RECORDS, LLC. ASSETS OF 3                                     3,677.98                      0.00                                0.00               FA
 COPYRIGHTED RECOR
 23. LT TRUST - GROSS AMOUNT $90,573.79, LESS LOAN                     50,711.37                        0.00                                0.00               FA
 OF $
    Debtor Claimed Exemption
 24. 2016 FEDERAL AND STATE INCOME TAX REFUNDS                         Unknown                      5,798.86                            5,828.00               FA
 25. NET WAGES THAT I HAVE EARNED, BUT NOT YET                          2,681.59                        0.00                                0.00               FA
 PD
    Debtor Claimed Exemption
 26. NET WAGES THAT I HAVE EARNED, BUT HAVE                                429.09                       0.00                                0.00               FA
 NOT YET PD
    Debtor Claimed Exemption
 27. TERM LIFE INSURANCE, NO CASH VALUE,                                        1.00                    0.00                                0.00               FA
 BENEFICIARY: M
    Debtor Claimed Exemption
 28. VARIOUS ITEMS OF MUSICAL INSTRUMENTS AND                             2,700.00                      0.00                                0.00               FA
 EQUIPMENT
    Debtor Claimed Exemption
 29. 2016 PROPERTY TAX REFUND (u)                                               0.00                    0.00                                0.00               FA
    NONE

                                                                                                                                                   Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                   $498,206.62               $25,110.86                         $29,328.00                            $0.00
                                                                                                                                                     (Total Dollar Amount
                                                                                                                                                            in Column 6)

 _________________________________________________________________________________________________________________________
 Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

 TFR

 Initial Projected Date of Final Report (TFR): 12/31/17           Current Projected Date of Final Report (TFR): 12/31/18




PFORM1                                                                                                                                                               Ver: 20.02
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                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
                                                                                                                                                                            Exhibit 9
    Case No:                  16-43799                                                                 Trustee Name:                RANDALL L. SEAVER, TRUSTEE
    Case Name:                GALETKA, ROBERT A.                                                       Bank Name:                   ASSOCIATED BANK
                              MCCOMBER-GALETKA, BETSY J.                                               Account Number / CD #:        *******9951 Checking Account
    Taxpayer ID No:           XX-XXXXXXX
    For Period Ending:        10/14/18                                                                 Blanket Bond (per case limit): $ 26,510,000.00
                                                                                                       Separate Bond (if applicable):


         1                2                          3                                      4                                           5                    6                    7

    Transaction     Check or                                                                                          Uniform                           Disbursements      Account / CD
       Date         Reference              Paid To / Received From              Description Of Transaction          Trans. Code    Deposits ($)              ($)            Balance ($)

                                                                        BALANCE FORWARD                                                                                                   0.00
       05/18/17          24        STATE OF MN                          2016 MN TAX REFUND                             1124-000             1,006.00                               1,006.00
                                   658 CEDAR STREET, STE 400
                                   ST PAUL, MN 55155-1616
       05/30/17       100001       INTERNATIONAL SURETIES, LTD          BOND PREMIUM                                   2300-000                                    0.31            1,005.69
                                   SUITE 420, 701 POYDRAS ST            BOND #016018055
                                   NEW ORLEANS, LA 70139
       05/31/17          24        UNITED STATES TREASURY               2016 FED TAX REFUND                            1124-000             4,822.00                               5,827.69
                                   KANSAS CITY, MO
*      06/04/17       100002       ROBERT GALETKA                       DEBTOR SHARE OF 2016 MN TAX REF                8500-004                                    5.03            5,822.66
                                   BETSY McCOMBER-GALETKA
                                   320 W. 170TH STREET
                                   BLOOMINGTON, MN 55420
       07/10/17                    ASSOCIATED BANK                      BANK SERVICE FEE                               2600-000                                   10.00            5,812.66
       08/07/17                    ASSOCIATED BANK                      BANK SERVICE FEE                               2600-000                                   10.00            5,802.66
*      08/09/17       100003       ROBERT GALETKA                       DEBTOR SHARE OF 2016 FED TAX                   8500-003                                   24.11            5,778.55
                                   BETSY MCCOMBER-GALETKA               REFUND
                                   320 W 17OTH STREET
                                   BLOOMINGTON, MN 55420
       09/08/17                    ASSOCIATED BANK                      BANK SERVICE FEE                               2600-000                                   10.00            5,768.55
*      09/13/17       100002       ROBERT GALETKA                       Stop Payment Reversal                          8500-004                                   -5.03            5,773.58
                                   BETSY McCOMBER-GALETKA               STOP PAY ADD SUCCESSFUL
                                   320 W. 170TH STREET
                                   BLOOMINGTON, MN 55420
       10/06/17                    ASSOCIATED BANK                      BANK SERVICE FEE                               2600-000                                   10.00            5,763.58
       11/07/17                    ASSOCIATED BANK                      BANK SERVICE FEE                               2600-000                                   10.00            5,753.58
*      11/13/17       100003       ROBERT GALETKA                       DEBTOR SHARE OF 2016 FED TAX                   8500-003                                  -24.11            5,777.69
                                   BETSY MCCOMBER-GALETKA               REFUND
                                   320 W 17OTH STREET                   STALE CHECK
                                   BLOOMINGTON, MN 55420
       11/14/17       100004       FLATER PLUMBING & HEATING, INC       WINTERIZE HOME                                 2420-000                                  175.00            5,602.69
                                   W 7697 OLD 8 RD
                                   LADYSMITH, WI 54848
       12/07/17                    ASSOCIATED BANK                      BANK SERVICE FEE                               2600-000                                   10.00            5,592.69
       12/11/17       100005       CITY OF LADYSMITH                    UTILITY BILL                                   2990-000                                  111.25            5,481.44
                                   PO BOX 431                           401 PARK AVE E
                                   LADYSMITH, WI 54848-2651
       01/08/18                    ASSOCIATED BANK                      BANK SERVICE FEE                               2600-000                                   10.00            5,471.44
       02/07/18                    ASSOCIATED BANK                      BANK SERVICE FEE                               2600-000                                   10.00            5,461.44
       02/28/18       100006       TRUSTEE INSURANCE AGENCY             REAL PROPERTY INSURANCE                        2410-000                                   38.80            5,422.64
                                   2813 WEST MAIN                       INVOICE #9904
                                   KALAMAZOO, MI 49006
       03/07/18                    ASSOCIATED BANK                      BANK SERVICE FEE                               2600-000                                   10.00            5,412.64
       03/29/18                    RUSK COUNTY ABSTRACT CO              HOME SALE                                                        19,228.10                                24,640.74
                                   ESCROW ACCOUNT
                                   PO BOX 427
                                   LADYSMITH, WI 54848
                         3         RUSK COUNTY ABSTRACT CO                 Memo Amount:          23,500.00             1110-000




PFORM24 UST                                                                                                                                                                       Ver: 20.02
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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
                                                                                                                                                                           Exhibit 9
 Case No:                 16-43799                                                                  Trustee Name:                RANDALL L. SEAVER, TRUSTEE
 Case Name:               GALETKA, ROBERT A.                                                        Bank Name:                   ASSOCIATED BANK
                          MCCOMBER-GALETKA, BETSY J.                                                Account Number / CD #:        *******9951 Checking Account
 Taxpayer ID No:          XX-XXXXXXX
 For Period Ending:       10/14/18                                                                  Blanket Bond (per case limit): $ 26,510,000.00
                                                                                                    Separate Bond (if applicable):


      1               2                          3                                       4                                           5                    6                      7

 Transaction     Check or                                                                                          Uniform                           Disbursements        Account / CD
    Date         Reference             Paid To / Received From              Description Of Transaction           Trans. Code    Deposits ($)              ($)              Balance ($)

                                                                    HOME SALE
                               COLDWELL BANKER NORTHERN                Memo Amount:      (     1,200.00 )           3510-000
                                                                    REALTOR COMMISSION
                               RIVERBEND REALTY GROUP LLC              Memo Amount:      (        800.00 )          3510-000
                                                                    REALTOR COMMISSION
                                                                       Memo Amount:      (        795.50 )          2500-000
                                                                    CLOSING COSTS
                                                                       Memo Amount:      (     1,476.40 )           2820-000
                                                                    REAL ESTATE TAXES
    03/30/18       100007      TRUSTEE INSURANCE AGENCY             REAL PROPERTY INSURANCE                         2420-000                                   362.26            24,278.48
                               2813 WEST MAIN
                               KALAMAZOO, MI 49006
    03/30/18       100008      ROBERT GALETKA & BETSY               EXEMPT AMOUNT OF PROPERTY SOLD                  8100-000                                  4,217.00           20,061.48
                               McCOMBER-GALETKA
                               C/O GREGORY J. WALD
                               3800 AMERICAN BLVD W, SUITE 1500
                               BLOOMINGTON, MN 55431
    04/06/18                   ASSOCIATED BANK                      BANK SERVICE FEE                                2600-000                                    10.00            20,051.48
    05/07/18                   ASSOCIATED BANK                      BANK SERVICE FEE                                2600-000                                    32.23            20,019.25
    06/02/18       100009      INTERNATIONAL SURETIES, LTD          BOND PREMIUM                                    2300-000                                     7.15            20,012.10
                               701 POYDRAS ST, SUITE 420            BOND #016018054
                               NEW ORLEANS, LA 70139
    06/07/18                   ASSOCIATED BANK                      BANK SERVICE FEE                                2600-000                                    29.76            19,982.34
    07/09/18                   ASSOCIATED BANK                      BANK SERVICE FEE                                2600-000                                    28.76            19,953.58
    07/24/18       100010      ROBERT GALETKA                       DEBTOR SHARE OF 2016 MN TAX REF                 8500-000                                     5.03            19,948.55
                               BETSY McCOMBER-GALETKA               REISSUE STALE CHECK
                               320 W. 170TH STREET
                               BLOOMINGTON, MN 55420
    07/24/18       100011      ROBERT GALETKA                       DEBTOR SHARE OF 2016 FED TAX                    8500-000                                    24.11            19,924.44
                               BETSY MCCOMBER-GALETKA               REFUND
                               320 W 17OTH STREET                   REISSUE STALE CHECK
                               BLOOMINGTON, MN 55420
    09/06/18       100012      RANDALL L. SEAVER, TRUSTEE           Chapter 7 Compensation/Fees                     2100-000                                  3,261.10           16,663.34
                               12400 PORTLAND AVENUE SOUTH
                               SUITE 132
                               BURNSVILLE, MN 55337
    09/06/18       100013      RANDALL L. SEAVER, TRUSTEE           Chapter 7 Expenses                              2200-000                                   219.39            16,443.95
                               12400 PORTLAND AVENUE SOUTH
                               SUITE 132
                               BURNSVILLE, MN 55337
    09/06/18       100014      FULLER, SEAVER, SWANSON &            Claim 000006, Payment 100.00000%                3110-000                                   619.00            15,824.95
                               KELSCH, P.A.                         ATTORNEY FEES
                               12400 PORTLAND AVENUE SOUTH
                               SUITE 132
                               BURNSVILLE, MN 55337
    09/06/18       100015      RICHARD SUMMERFIELD                  Claim 000007, Payment 100.00000%                3110-000                                   580.00            15,244.95
                                                                    ATTORNEY FEES
    09/06/18       100016      PAIEMENT LAW OFFICE, LLC             Claim 000008, Payment 100.00000%                3410-000                                   825.00            14,419.95




PFORM24 UST                                                                                                                                                                      Ver: 20.02
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                Case 16-43799                      Doc 37         Filed 10/24/18 Entered 10/24/18 11:48:11                                         Desc             Page
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                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
                                                                                                                                                                               Exhibit 9
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                                                                                                        Separate Bond (if applicable):


      1               2                            3                                     4                                               5                    6                      7

 Transaction     Check or                                                                                              Uniform                           Disbursements        Account / CD
    Date         Reference             Paid To / Received From               Description Of Transaction              Trans. Code    Deposits ($)              ($)              Balance ($)

                               221 EAST MYRTLE STREET                ACCOUNTANT FEES
                               STILLWATER, MN 55082
    09/06/18       100017      GREENSKY, LLC.                        Claim 000001, Payment 102.61397%                                                             2,004.02           12,415.93
                               1797 N.E EXPRESSWAY, SUITE 100        (1-1) ACCOUNT NUMBER (LAST 4
                               ATLANTA, GA 30329-3614                DIGITS):8520
                                                                           Claim             1,952.97                   7100-000
                                                                           Interest           51.05                     7990-000
    09/06/18       100018      VERIZON                               Claim 000002, Payment 102.60953%                                                               85.72            12,330.21
                               BY AMERICAN INFOSOURCE LP AS
                               AGENT
                               4515 N SANTA FE AVE
                               OKLAHOMA CITY, OK 73118
                                                                           Claim              83.54                     7100-000
                                                                           Interest            2.18                     7990-000
    09/06/18       100019      U.S. BANK NATIONAL ASSOCIATION        Claim 000003, Payment 102.61423%                                                             1,897.06           10,433.15
                               BANKRUPTCY DEPARTMENT
                               PO BOX 108
                               ST. LOUIS MO 63166-0108
                                                                           Claim             1,848.73                   7100-000
                                                                           Interest           48.33                     7990-000
    09/06/18       100020      SYNCHRONY BANK                        Claim 000004, Payment 102.61471%                                                              550.61             9,882.54
                               C/O PRA RECEIVABLES                   (4-1) JCP CREDIT CARD OR GEMB OR
                               MANAGEMENT, LLC                       GECRB
                               PO BOX 41021
                               NORFOLK VA 23541
                                                                           Claim              536.58                    7100-000
                                                                           Interest           14.03                     7990-000
    09/06/18       100021      Chase Bank USA, NA                    Claim 000005, Payment 102.61412%                                                             9,882.54                   0.00
                               c/o Kevin C Drsicoll, Jr
                               Barnes & Thornburg LLP
                               1 North Wacker Drive, Suite 4400
                               Chicago, IL 60606
                                                                           Claim             9,630.78                   7200-000
                                                                           Interest           251.76                    7990-000




                                                                                                                                                    Total Of All Accounts                    0.00




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